        Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 1 of 16




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
____________________________________
                                           )
PARS EQUALITY CENTER, et al.,              )
                                           )
                               Plaintiffs, )
                                           )
v.                                         )  Civil Action No. 1:17-cv-00255-TSC
                                           )
DONALD J. TRUMP, in his official           )
capacity as President of the               )
United States, et al.,                     )
                                           )
                       Defendants.         )
____________________________________)
                                           )
UNIVERSAL MUSLIM ASSOCIATION )
OF AMERICA, et al.,                        )
                                           )
                       Plaintiffs,         )
                                           )
v.                                         )  Civil Action No. 1:17-cv-00537-TSC
                                           )
DONALD J. TRUMP, in his official           )
capacity as President of the               )
United States, et al.,                     )
                                           )
                       Defendants.         )
____________________________________)


         DEFENDANTS’ EMERGENCY MOTION TO STAY PROCEEDINGS
                  PENDING SUPREME COURT REVIEW
             Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 2 of 16




                                                    TABLE OF CONTENTS



TABLE OF CONTENTS ................................................................................................................. i

TABLE OF AUTHORITIES........................................................................................................... ii

INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 3

ARGUMENT .................................................................................................................................. 4

I.        A Stay of Proceedings Would Promote Judicial Economy and Conserve the Parties’
          Resources by Awaiting the Supreme Court’s Guidance on Important Legal Issues. .......... 4

          A.         Courts Routinely Stay Proceedings to Await Guidance from Appellate
                     Courts. ..................................................................................................................... 4

          B.         Awaiting Supreme Court Guidance Is the Most Efficient Way to Proceed in
                     These Cases. ............................................................................................................ 7

II.       Plaintiffs Will Not Be Harmed By the Proposed Stay. ..................................................... 10

CONCLUSION ............................................................................................................................. 11




                                                                       -i-
            Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 3 of 16




                                                TABLE OF AUTHORITIES

CASES

Ali v. Trump,
  No. 2:17-cv-135, 2017 WL 2222873 (W.D. Wash. May 22, 2017) ............................................ 6

Allina Health Servs. v. Sebelius,
  756 F. Supp. 2d 61 (D.D.C. 2010) .............................................................................................. 5

Cal. Ass’n of Health Facilities v. Maxwell-Jolly,
  No. 10-cv-3259, 2010 WL 2612694 (C.D. Cal. June 24, 2010) ................................................. 6

Canady v. Erbe Elektromedizin GmbH,
  271 F. Supp. 2d 64 (D.D.C. 2002) .............................................................................................. 5

Canal Props., LLC v. Alliant Tax Credit V, Inc.,
  No. 04-cv-3201, 2005 WL 1562807 (N.D. Cal. June 29, 2005) ................................................. 8

Cheney v. U.S. Dist. Court for D.C.,
  542 U.S. 367 (2004) .................................................................................................................... 9

Coombs v. Diguglielmo,
  No. 04-cv-1841, 2004 WL 1631416 (E.D. Pa. July 21, 2004) ................................................... 6

Fairview Hosp. v. Leavitt,
  No. 05-cv-1065, 2007 WL 1521233 (D.D.C. May 22, 2007) ..................................................... 5

Felix v. United States,
  No. 91-0946, 1992 WL 361745 (N.D. Cal. April 29, 1992) ....................................................... 6

Fonville v. Dist. of Columbia,
  766 F. Supp. 2d 171 (D.D.C. 2011) ............................................................................................ 5

Freedom Watch, Inc. v. Dep’t of State,
  925 F. Supp. 2d 55 (D.D.C. 2013) .............................................................................................. 8

Hawaii v. Trump,
  No. 17-cv-50, 2017 WL 1167383 (D. Haw. Mar. 29, 2017),
  appeal docketed, No. 17-15889 (9th Cir. argued May 15, 2017) ............................................... 2

Hawaii v. Trump,
  No. 17-cv-50, 2017 WL 536826 (D. Haw. Feb. 9, 2017) ............................................... 6, 10, 11

Hussain v. Lewis,
  848 F. Supp. 2d 1 (D.D.C. 2012) ................................................................................................ 5




                                                                   -ii-
            Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 4 of 16




IBT/HERE Emps. Representatives’ Council v. Gate Gourmet Div. Americas,
  402 F. Supp. 2d 289 (D.D.C. 2005) ...................................................................................... 5, 10

Kerry v. Din,
  135 S. Ct. 2128 (2015) ................................................................................................................ 7

Kleindienst v. Mandel,
  408 U.S. 753 (1972) ................................................................................................................ 7, 9

Landis v. N. Am. Co.,
  299 U.S. 248 (1936) .................................................................................................................... 4

Leyva v. Certified Grocers of Cal., Ltd.,
  593 F.2d 857 (9th Cir. 1979) ....................................................................................................... 5

Lincoln Nat’l Life Ins. Co. v. Transamerica Fin. Life Ins. Co.,
  No. 1:08-cv-135, 2010 WL 567993 (N.D. Ind. Feb. 12, 2010) .................................................. 6

McCreary Cty. v. ACLU of Ky.,
 545 U.S. 844 (2005) .................................................................................................................... 9

Sumler v. Sovran Bank/DC Nat’l,
  No. 91-cv-3276, 1992 WL 315975 (D.D.C. Oct. 14, 1992) ....................................................... 5

Tax Analysts & Advocates v. IRS,
  405 F. Supp. 1065 (D.D.C. 1975) ............................................................................................... 5

Trump v. International Refugee Assistance Project (IRAP),
  --- F.3d ----, 2017 WL 2273306 (4th Cir. May 25, 2017),
  cert pending, No. 16-____ (filed June 1, 2017) ................................................................ 1, 7, 12

Univ. of Colo. Health Mem’l Hosp. v. Burwell,
  No. 14-cv-1220, 2017 WL 535246 (D.D.C. Feb. 9, 2017) ......................................................... 5

Walker v. Monsanto Co. Pension Plan,
  472 F. Supp. 2d 1053 (S.D. Ill. 2006) ......................................................................................... 6

Washington v. Trump,
  No. 2:17-cv-141, 2017 WL 2172020 (W.D. Wash. May 17, 2017) .................................. 6, 9, 11

REGULATIONS

Exec. Order No. 13,780, 82 Fed. Reg. 13,209 (Mar. 6, 2017) ........................................................ 1




                                                                   -iii-
         Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 5 of 16




                                        INTRODUCTION

       Defendants respectfully request that this Court stay further proceedings in these matters

until the Supreme Court acts on the Government’s pending petition for writ of certiorari in Trump

v. International Refugee Assistance Project (IRAP), --- F.3d ----, 2017 WL 2273306 (4th Cir.

May 25, 2017), cert. pending, No. 16-1436 (filed June 1, 2017), and, if certiorari is granted,

pending the Supreme Court’s ultimate decision on the merits.           Defendants have filed this

emergency motion because, absent this relief, Defendants must file motions to dismiss in both

cases pending before this Court a week from today, on June 9, 2017. As described further below,

to the extent the Court is inclined to provide Plaintiffs an opportunity to respond to this emergency

motion, Defendants respectfully request an immediate stay of the June 9 deadline until one week

after the Court decides this stay motion.

       In the two cases pending before this Court, Plaintiffs are challenging the President’s

Executive Order No. 13,780, Protecting the Nation From Foreign Terrorist Entry Into the United

States (Mar. 6, 2017) (“the Order”), which is the same Order challenged by the plaintiffs in IRAP.

The en banc Fourth Circuit in IRAP recently upheld a preliminary injunction against Section 2(c)

of the Order. See IRAP, 2017 WL 2273306 at *26. Yesterday, the Government filed with the

Supreme Court a petition for certiorari in IRAP, as well as an application for a stay of the

preliminary injunction entered in IRAP pending a decision on certiorari and, if review is granted,

an ultimate decision on the merits. See No. 16-1436 (filed June 1, 2017) (attached hereto as

Exh. A); No. 16A-1190 (filed June 1, 2017) (attached hereto as Exh. B).

       Yesterday the Government also filed with the Supreme Court an application for a stay of

the preliminary injunction issued by the District of Hawaii against the Order; that preliminary

injunction is currently on appeal before the Ninth Circuit. See Hawaii v. Trump, No. 17-cv-50,




                                                -1-
         Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 6 of 16




2017 WL 1167383 (D. Haw. Mar. 29, 2017), appeal docketed, No. 17-15589 (9th Cir. argued

May 15, 2017).     The Government’s application sought a stay pending the Ninth Circuit’s

consideration and disposition of the Government’s appeal and, if the Ninth Circuit affirms the

injunction, pending the filing and disposition of a petition for certiorari and any further proceedings

in the Supreme Court. See No. 16A-1191 (filed June 1, 2017) (attached hereto as Exh. C).

       In light of the Government’s pending petition for certiorari in IRAP—and potential future

Supreme Court proceedings regarding Hawaii—the Supreme Court is now likely to decide

questions of law that will bear directly upon the cases pending before this Court. The Supreme

Court’s resolution of those fundamental legal questions would govern all future proceedings in this

case, if any. Moving forward in this case prior to potential Supreme Court review, in contrast, will

unnecessarily duplicate the proceedings, threaten to create inconsistent rulings, and place

significant, unnecessary burdens on both the parties and this Court. Accordingly, in order to

promote judicial economy and preserve the parties’ resources, Defendants respectfully request that

further proceedings in these cases be stayed pending potential Supreme Court review in IRAP (and,

if necessary, in Hawaii).

       Pursuant to Local Civil Rule 7(m), counsel for Defendants contacted counsel for Plaintiffs

in both cases, both of whom indicated that their clients oppose this emergency motion and

requested that Defendants report their positions as set forth in the attached meet-and-confer

correspondence, including that they intend to respond to this motion on or before Wednesday,

June 7. As Defendants proposed in the meet-and-confer correspondence, to the extent the Court

is inclined to provide Plaintiffs an opportunity to respond to this emergency motion, Defendants

respectfully request an immediate stay of the June 9 deadline for responding to the Complaints,

until one week after the Court decides this stay motion.




                                                 -2-
         Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 7 of 16




                                        BACKGROUND

       In Pars Equality Center v. Trump, No. 17-cv-255 (D.D.C.), Plaintiffs filed their operative

Amended Complaint on March 15, 2017, seeking to challenge the Order on a variety of grounds,

including the Establishment Clause. See ECF No. 34. Later that day, Plaintiffs also filed a motion

for a preliminary injunction against certain sections of the Order. See ECF No. 35.

       In Universal Muslim Association of America (UMAA) v. Trump, No. 17-cv-537 (D.D.C.),

Plaintiffs filed their initial Complaint on March 24, 2017, see ECF No. 10, and later amended their

Complaint on April 11, 2017. See ECF No. 32. The Amended Complaint likewise challenges the

Order on a variety of grounds, including the Establishment Clause. See id. On March 27, 2017,

Plaintiffs filed their motion for a preliminary injunction against various sections of the Order. See

ECF No. 11.

       The Court heard combined argument in both cases on April 21, 2017. Following that

hearing, the Court directed the parties to file supplemental memoranda regarding the need for

preliminary relief given the existence of two nationwide injunctions already entered against the

Order. See Minute Order of Apr. 21, 2017. Following the parties’ supplemental briefs, the Court

stayed consideration of Plaintiffs’ motions for preliminary injunctions:

       The existence of two other nationwide injunctions temporarily casts uncertainty on
       the issue of whether the harms Plaintiffs allege are actually imminent or certain.
       Because both existing preliminary injunctions are actively being considered on
       appeal by the Fourth and Ninth Circuits this month and the continued existence of
       these injunctions will directly impact this court’s analysis, the court finds that the
       most appropriate course of action is to temporarily stay resolution of the Plaintiffs’
       motions pending the outcome of the current appeals. In the event that both existing
       injunctions are overturned, this court is prepared to issue a ruling without delay.

Pars ECF No. 84 at 2, UMAA ECF No. 48 at 2.




                                                -3-
         Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 8 of 16




       In that Order, the Court also directed Defendants to respond to the operative complaints in

the two cases by May 26, 2017. See id. That deadline was subsequently extended until June 9,

2017. See Minute Orders of May 22, 2017.

                                            ARGUMENT

I.     A Stay of Proceedings Would Promote Judicial Economy and Conserve the Parties’
       Resources by Awaiting the Supreme Court’s Guidance on Important Legal Issues.

       Given the pending petition for certiorari in IRAP, and the possibility of future Supreme

Court proceedings in Hawaii, the cases before this Court should be stayed. The Government has

asked the Supreme Court to decide fundamental legal questions raised by these cases, the

resolution of which would govern all future proceedings in these cases, if any. Given the

significant overlap between the legal issues in these cases and the legal issues the Supreme Court

may soon decide in IRAP, proceeding now—without the benefit of potential Supreme Court

guidance—would be a waste of the Court’s and the parties’ resources. Consistent with the

overwhelming weight of authority, therefore, this Court should stay proceedings in these cases

pending potential Supreme Court review.

       A.      Courts Routinely Stay Proceedings to Await Guidance from Appellate Courts.

       A trial court has broad discretion to stay a case pending the outcome of proceedings in

another court. See Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (“[T]he power to stay

proceedings is incidental to the power inherent in every court to control the disposition of the

causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”).

Thus, “a trial court may, with propriety, find it is efficient for its own docket and the fairest course

for the parties to enter a stay of an action before it, pending resolution of independent proceedings

which bear upon the case.” Canady v. Erbe Elektromedizin GmbH, 271 F. Supp. 2d 64, 74 (D.D.C.




                                                  -4-
           Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 9 of 16




2002) (modifications omitted, quoting Leyva v. Certified Grocers of Cal., Ltd., 593 F.2d 857, 863-

64 (9th Cir. 1979)).

       Courts within this District routinely stay proceedings where resolution of an appeal in

another matter may guide the district court in deciding the issues before it. See, e.g., Univ. of Colo.

Health Mem’l Hosp. v. Burwell, No. 14-cv-1220, 2017 WL 535246, at *12 (D.D.C. Feb. 9, 2017)

(“Because many of the applicable issues may be resolved by the D.C. Circuit, and because the

D.C. Circuit may otherwise provide instruction on the issues here, the Court finds a stay would

serve the interests of judicial efficiency.”); Allina Health Servs. v. Sebelius, 756 F. Supp. 2d 61, 71

(D.D.C. 2010) (finding “good cause to stay this matter” given that “the parties agree that the

resolution of [a related case] by the D.C. Circuit will be dispositive of the Plaintiffs’ arguments

here”); Tax Analysts & Advocates v. IRS, 405 F. Supp. 1065, 1067 (D.D.C. 1975) (staying

proceedings because “the Supreme Court could, in effect, overrule [a relevant precedent] should it

choose to grant the petition for certiorari”); cf. Sumler v. Sovran Bank/DC Nat’l, No. 91-cv-3276,

1992 WL 315975, at *4 (D.D.C. Oct. 14, 1992) (inviting the parties to request a stay because “it

may be in the interest of judicial economy to stay these proceedings pending the Supreme Court’s

decision” in a related matter).*

       Courts outside this District similarly stay proceedings to await guidance from appellate

courts, including when a petition for certiorari has been filed. See, e.g., Walker v. Monsanto Co.



       *
          Even outside the appeal context, courts within this District also routinely grant stays to
allow the conclusion of other related proceedings. See, e.g., Hussain v. Lewis, 848 F. Supp. 2d 1,
2 (D.D.C. 2012) (staying case pending state court proceedings and arbitration request); Fonville v.
Dist. of Columbia, 766 F. Supp. 2d 171, 174 (D.D.C. 2011) (staying case pending resolution of
litigation in the D.C. Court of Appeals); Canady, 271 F. Supp. 2d at 74-75 (granting stay pending
ongoing agency proceedings); IBT/HERE Emps. Representatives’ Council, 402 F. Supp. 2d 289,
292 (D.D.C. 2005) (staying case pending arbitrator’s decision); Fairview Hosp. v. Leavitt, No. 05-
cv-1065, 2007 WL 1521233 (D.D.C. May 22, 2007) (granting a stay pending district court’s
resolution of a similar case).


                                                 -5-
        Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 10 of 16




Pension Plan, 472 F. Supp. 2d 1053, 1055 (S.D. Ill. 2006) (granting a stay pending resolution of a

petition for writ of certiorari in case presenting related issue, and collecting cases for the

proposition that “such stays are entered quite routinely”); Cal. Ass’n of Health Facilities v.

Maxwell-Jolly, No. 10-cv-3259, 2010 WL 2612694, at *2 (C.D. Cal. June 24, 2010) (granting a

stay pending Supreme Court’s decision on a petition for certiorari, because the plaintiffs were

challenging the same policy at issue in the case pending before the Supreme Court); Lincoln Nat’l

Life Ins. Co. v. Transamerica Fin. Life Ins. Co., No. 1:08-cv-135, 2010 WL 567993, at *1 (N.D.

Ind. Feb. 12, 2010) (staying case until outcome of Supreme Court decision, so as to provide the

court with “clear direction on the precise standard to be applied” in evaluating the claims in the

case); Coombs v. Diguglielmo, No. 04-cv-1841, 2004 WL 1631416, at *1 (E.D. Pa. July 21, 2004)

(stay granted in light of pending petition for certiorari in case that may have “significant impact”

on case before the court); Felix v. United States, No. 91-0946, 1992 WL 361745, at *1 (N.D. Cal.

April 29, 1992) (stay of proceedings granted to allow government opportunity to consider seeking

Supreme Court review of court of appeals’ decision).

       Consistent with this usual practice, numerous other courts hearing challenges to the Order

have also entered stays. Indeed, at least six courts have stayed district court proceedings due to

pending appellate proceedings. See Washington v. Trump, No. 2:17-cv-141, 2017 WL 2172020

(W.D. Wash. May 17, 2017); Hawaii v. Trump, No. 17-cv-50, 2017 WL 536826, at *5 (D. Haw.

Feb. 9, 2017) (first Executive Order); Ali v. Trump, No. 2:17-cv-135, 2017 WL 2222873 (W.D.

Wash. May 22, 2017); Doe v. Trump, No. 2:17-cv-178 (W.D. Wash. May 30, 2017), ECF No. 34

(attached hereto as Exh. D); IRAP v. Trump, No. 17-cv-361 (D. Md. Apr. 19, 2017), ECF No. 184

(attached hereto as Exh. E); Sarsour v. Trump, No. 1:17-cv-120 (E.D. Va. Apr. 24, 2017), ECF

No. 42 (attached hereto as Exh. F); Hawaii v. Trump, No. 17-cv-50 (D. Haw. Apr. 3, 2017), ECF




                                                -6-
        Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 11 of 16




No. 279 (attached hereto as Exh. G) (second Executive Order). Just as those six courts stayed

proceedings due to the prospect of binding appellate decisions, this Court should likewise stay

proceedings pending potential Supreme Court review.

       B.      Awaiting Supreme Court Guidance Is the Most Efficient Way to Proceed in
               These Cases.

       As the above courts have recognized, it makes eminent sense for a district court to refrain

from deciding the very same issues that may soon be resolved by a binding appellate court.

       Here, there can be no doubt about the significant overlap between the legal issues raised in

these cases and the legal issues the Supreme Court may soon decide in IRAP. Just as with the two

cases pending before this Court, IRAP also involves questions regarding: an individual’s standing

to sue over the potential exclusion of foreign national family members (see 2017 WL 2273306

at *9-13); the scope of the doctrine of consular non-reviewability (see id. at *13); the appropriate

application of the Supreme Court’s decisions in Kleindienst v. Mandel, 408 U.S. 753 (1972), and

Kerry v. Din, 135 S. Ct. 2128 (2015) (see 2017 WL 2273306 at *14-18); and the appropriate

application of domestic Establishment Clause precedents (see id. at *18-24). Thus, any decision

by the Supreme Court in IRAP is certain to be highly relevant—if not entirely dispositive—of the

legal issues currently confronting this Court.

       Indeed, Plaintiffs themselves have previously acknowledged that the core issues in Pars

and UMAA largely overlap with the issues presented in IRAP and other cases. See Pls.’ Suppl. PI

Mem. (Pars ECF No. 80, UMAA ECF No. 42) at 5 (“[I]f the Supreme Court hears challenges to

the March 6 Executive Order at the preliminary-injunction stage, the PARS and UMAA cases

present important complements to the Hawaii and Maryland suits.” (citation omitted)); id. at 4

(urging this Court to decide the preliminary-injunction motions because “reasoned opinions by

multiple courts will develop the law on, and aid any Supreme Court review of, the critically



                                                 -7-
        Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 12 of 16




important questions here about invidious religious and national-origin discrimination and the scope

of executive authority” (emphasis added)); see also Tr. of PI Hr’g of Apr. 21, 2017 at 7 (discussing

“if and when this case goes to the Supreme Court”). As Plaintiffs’ own statements acknowledge,

therefore, it is likely that the Supreme Court will grant review over these fundamental legal issues.

See also Exh. B (Gov’t’s Appl. for Stay, Trump v. IRAP, No. 16A-1190) at 18-22 (explaining why

the Supreme Court is likely to grant review in the IRAP case). Accordingly, now that the

Government has asked the Supreme Court to decide these critical issues, this Court should stay

further proceedings in both Pars and UMAA.

       If the Court were to deny a stay here, that would unnecessarily waste the Court’s and the

parties’ resources, and would threaten to complicate future stages of the proceeding. First, the

parties would be required to brief and litigate a motion to dismiss—even though the motion to

dismiss would present many of the same legal arguments the Government has asked the Supreme

Court to decide. That briefing process, and this Court’s consideration of the motion, would itself

be wasteful. Cf. Freedom Watch, Inc. v. Dep’t of State, 925 F. Supp. 2d 55, 59 (D.D.C. 2013)

(granting a stay “[n]ot needing more lawyers to spend more time on more briefs on more

subjects”); Canal Props. LLC v. Alliant Tax Credit V, Inc., No. 04-cv-3201, 2005 WL 1562807, at

*3 (N.D. Cal. June 29, 2005) (exercising the “power to stay duplicative litigation” because “given

the similarity of issues in the two cases, and the potential for [the case on appeal]’s preclusive

effect, it would be a poor use of judicial resources to proceed”).

       Moreover, if the Court were to deny the motion to dismiss—as it has tentatively signaled,

see Pars ECF No. 84 at 2, UMAA ECF No. 48 at 2 (“the court is inclined to agree with Plaintiffs

that they are likely to succeed on the merits of their claims with respect to Sections 2 and 6 of the

Second Executive Order”)—denial of that motion would not itself resolve Plaintiffs’ claims or




                                                 -8-
        Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 13 of 16




provide them any relief. Instead, denial of that motion would only require the parties to move into

the next stage of the litigation—increasing the burden on the parties still further. And depending

on what Plaintiffs propose as the next stage of the litigation, cf. UMAA’s Reply Br. (ECF No. 38)

at 16 (asserting that “eventual discovery will show that no advice from national-security

professionals was sought and no ‘different course’ was considered, much less adopted”), that could

embroil the parties and the Court in significant and time-consuming disputes regarding the

appropriate scope of discovery (if any).

       Of course, the next stage of the proceedings would also depend on resolution of certain

fundamental questions governing these cases, which the Supreme Court may soon decide. For

example, is a court’s review of the Order limited to determining whether the four corners provide

a “facially legitimate and bona fide reason” for the policy, Kleindienst, 408 U.S. at 770, or may

courts undertake a more searching review? Even if a court could look beyond the four corners of

the Order, would an objective observer’s determination of purpose be limited to “openly available

data” such as official acts, McCreary Cty. v. ACLU of Ky., 545 U.S. 844, 862-63 (2005), or would

consideration of internal government documents be permitted? These types of foundational

questions are critical for determining the scope of any future proceedings in these cases, and thus

it makes eminent sense to wait for the Supreme Court’s potential guidance on such questions. As

Judge Robart in the Western District of Washington noted, “this factor weighs heavily in favor of

granting Defendants’ motion for a stay” because “[i]n the context of this case, the ‘high respect’

owed to the Executive warrants a stay to protect Defendants from the burden of resource intensive

discovery while the Ninth Circuit addresses issues that may inform the appropriateness, scope, and

necessity of that discovery.” Washington v. Trump, 2017 WL 2172020, at *4 (quoting Cheney v.

U.S. Dist. Court for D.C., 542 U.S. 367, 385 (2004))).




                                                -9-
        Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 14 of 16




       Finally, moving forward now—despite the uncertainty inherent in not awaiting potential

Supreme Court review—would create a “risk of inconsistent rulings that the appellate courts might

then need to disentangle.” Hawaii v. Trump, 2017 WL 536826, at *5. For example, a future

Supreme Court ruling could “change[] the applicable law or the relevant landscape of facts that

need to be developed,” id., such that any intervening rulings by this Court will be nullified or will

be need to be made anew. Even if this Court were to decide the motions to dismiss or undertake

further proceedings in these cases, therefore, all of it could be for naught—if the Supreme Court

grants review and then articulates the governing legal framework for these cases, this Court (or an

appellate court) would then have to go back and re-analyze everything to ensure those prior

decisions are consistent with the Supreme Court’s decision.

       In short, it is impossible to escape how a decision by the Supreme Court would permeate

every aspect of these cases. And given the likelihood of Supreme Court review, in these

circumstances it is far more efficient—and far less burdensome on the parties and the Court—to

stay proceedings pending potential Supreme Court review. Cf. IBT/HERE Emps. Representatives’

Council, 402 F. Supp. 2d at 293 (granting a stay when a decision in a separate proceeding “may

affect the parties’ understanding of the scope of this case going forward, may reorient the parties’

arguments, may catalyze a settlement of this matter, . . . or may resolve the issues raised in this

lawsuit in their entirety”). Consistent with the overwhelming weight of authority—including from

other courts hearing challenges to the Order—this Court should likewise stay further proceedings

pending potential Supreme Court review.

II.    Plaintiffs Will Not Be Harmed By the Proposed Stay.

       In contrast to the significant waste of resources that will occur if this case proceeds,

Plaintiffs will not suffer any harm from a stay. Indeed, this Court has already determined that




                                                -10-
        Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 15 of 16




“[t]he existence of two other nationwide injunctions temporarily casts uncertainty on the issue of

whether the harms Plaintiffs allege are actually imminent or certain.” Pars ECF No. 84 at 2,

UMAA ECF No. 48 at 2. And the Court has likewise stated that “[i]n the event that both existing

injunctions are overturned, this court is prepared to issue a ruling without delay.” Id. That would

remain true even if the Court entered a stay of future district court proceedings; the stay would not

prevent the Court from entering preliminary relief if appropriate, and thus Plaintiffs cannot

complain of any prejudice resulting from the stay itself.

       Moreover, Defendants’ proposed stay is of a limited duration. All of these cases, including

IRAP and Hawaii, have been moving extremely quickly. In IRAP, for example, litigating the entire

case—from the filing of the Complaint to resolution by the en banc Fourth Circuit—took under

three months. The Government is also moving expeditiously in the Supreme Court, filing its

petition for certiorari only four business days after the en banc Fourth Circuit issued its opinion

(which, in total, was over 200 pages in length). Given the speed of these proceedings, the

Government’s requested stay is reasonable in length and will not prejudice Plaintiffs. See Hawaii

v. Trump, 2017 WL 536826, at *3 (“[T]he expedited timeline of appellate proceedings that has

already been on display before the Ninth Circuit in the Western District of Washington case

indicates that any delay in this case pending resolution of that appeal will be reasonable in length.

And if that does not turn out to be the case, any party may petition the Court to lift or partially lift

the stay for good cause[.]”); see also Washington v. Trump, 2017 WL 2172020, at *4. Thus, all

factors weigh squarely in favor of a stay of these proceedings.

                                          CONCLUSION

       The Court should stay further proceedings in this matter until the Supreme Court acts on

the Government’s pending petition for writ of certiorari in Trump v. International Refugee




                                                 -11-
        Case 1:17-cv-00255-TSC Document 87 Filed 06/02/17 Page 16 of 16




Assistance Project (IRAP), --- F.3d ----, 2017 WL 2273306 (4th Cir. May 25, 2017), cert. pending,

No. 16-1436 (filed June 1, 2017), and, if certiorari is granted, pending the Supreme Court’s

ultimate decision on the merits. To the extent the Ninth Circuit affirms the injunction at issue in

Trump v. Hawaii, No. 17-15589 (9th Cir. argued May 15, 2017), this stay should also encompass

the filing and disposition of a petition for writ of certiorari, and any further proceedings in the

Supreme Court, regarding that injunction. A proposed order is attached.


Dated: June 2, 2017                           Respectfully submitted,

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